

Sports Advisory Group v Long Is. Lizards (2016 NY Slip Op 05805)





Sports Advisory Group v Long Is. Lizards


2016 NY Slip Op 05805


Decided on August 17, 2016


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 17, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
JOHN M. LEVENTHAL
SYLVIA O. HINDS-RADIX
VALERIE BRATHWAITE NELSON, JJ.


2014-04946
 (Index No. 14114/12)

[*1]Sports Advisory Group, etc., respondent,
vLong Island Lizards, also known as New York Lizards, appellant.


Peter G. Lavrenchik, Melville, NY (Tyler R. Rossworn of counsel), for appellant.
Peter H. Levy, Jericho, NY, for respondent.



DECISION &amp; ORDER
In an action to recover a brokerage commission, the defendant appeals from an order of the Supreme Court, Nassau County (Palmieri, J.), entered March 25, 2014, which granted the plaintiff's motion for leave to amend the caption of the summons and complaint, and the second paragraph of the complaint, to name "Long Island Lizards, also known as New York Lizards" as the defendant, instead of the named defendant, Long Island Lizards.
ORDERED that the order is affirmed, with costs.
The plaintiff commenced this action against the Long Island Lizards, also known as New York Lizards, a professional lacrosse team, to recover a brokerage commission it claims it is entitled to pursuant to an agreement to procure a buyer of the team. The action was commenced after the team was sold, but before the new owner changed the name of the team to the New York Lizards. The plaintiff's motion for leave to amend the caption of the summons and complaint, and the second paragraph of the complaint, to reflect the name change was granted and the defendant appeals.
Pursuant to CPLR 305(c), "[a]t any time, in its discretion and upon such terms as it deems just, the court may allow any summons or proof of service of a summons to be amended, if a substantial right of a party against whom the summons issued is not prejudiced." Here, the plaintiff did not seek to add a new party. Rather, it merely sought to amend the caption to reflect that the defendant's name had been changed. Since the defendant failed to establish that it would be prejudiced by the amendment, the motion was properly granted (see Ober v Rye Town Hilton,  159 AD2d 16).
RIVERA, J.P., LEVENTHAL, HINDS-RADIX and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








